         Case 5:21-cv-05590-JMG Document 4-1 Filed 12/30/21 Page 1 of 4




                          EASTERN DISTRICT OF PENNSYLVANIA

MARK A. WILLIAMS, SR.,                               :
                                                     :       CIVIL ACTION
                                      Plaintiff,     :
                                                     :       NO.: 5:21-cv-05590-JMG
                v.                                   :
                                                     :
FRANK LOFTUS, Individually and                       :
Separately; and LOFTUS ADJUSTMENT                    :
Individually, and Separately; and KELLY              :
GOBLIN, Individually, and Separately;                :
DOES 1 through 9,                                    :
                                                     :
                                      Defendants.    :

                         BRIEF IN SUPPORT OF DEFENDANTS’
                       MOTION FOR LEAVE TO FILE UNDER SEAL

I.      INTRODUCTION

        Defendants Frank Loftus, Loftus Adjustment Service Inc. d/b/a ARC Claims Management,

and Kelly Giblin (“Defendants”), move for leave to file under seal their Motion to Dismiss Plaintiff

Mark A. Williams, Sr.’s (“Plaintiff”) Complaint (“Motion”) because the Motion relies heavily

upon (and seeks to attach as an exhibit) a confidential settlement agreement entered into between

the parties in a prior matter.

II.     STATEMENT OF THE QUESTION INVOLVED

        Should the Motion of Defendants to Dismiss Plaintiff’s Complaint be filed under seal when

the Motion relies upon, and includes as an exhibit, a confidential settlement agreement entered

into between the parties in a prior matter?

        Suggested Answer: Yes.

III.    FACTS

        A.      General Background

        This action stems from the matter of Mark A. Williams, Sr. v. Loftus Adjustment Company,
         Case 5:21-cv-05590-JMG Document 4-1 Filed 12/30/21 Page 2 of 4




et al. civil action number 1:20-cv-00512-SES, which was previously pending in the United States

District Court for the Middle District of Pennsylvania (the “First Action”). The parties executed

a “Confidential Settlement Agreement and General Release” on July 16, 2020 (“Confidential

Release”). The First Action was voluntarily dismissed on August 5, 2020.

       Plaintiff is now asserting many of the same facts and some of the same claims in this action

as he raised in the First Action. In addition, Plaintiff asserts what seems to be a conversion claim,

the alleged conduct in support of which arose prior to the execution of the Confidential Agreement.

       Because the Confidential Release encompasses and bars all of the claims asserted by

Plaintiff in this action, Defendants rely on the Confidential Release and would attach it as an

exhibit to Defendants’ Motion to Dismiss Plaintiff’s Complaint. Defendants are therefore seeking

leave to file their Motion to Dismiss under seal or, in the alternative, to file the Confidential

Release as an exhibit under seal.

IV.    ARGUMENT

       Rule 5.1.5 of the Eastern District of Pennsylvania Local Rules of Civil Procedure provides:

       (a)      A document in a civil action may be filed under seal only if:

               (1)     the civil action is brought pursuant to a federal statute that prescribes the
               sealing of the record or of certain specific documents; or

               (2)     the Court orders the documents sealed.

       E.D. Pa. R. 5.1.5.

       The filing at issue here should be filed under seal pursuant to R. 5.1.5 because it attaches

and refers in the body of its Motion to material in the Confidential Agreement. In addition, the

details of the parties’ Confidential Agreement touch upon sensitive matters for each party that are

of little importance to the public. On the other hand, disclosure of the details of the Confidential




                                                 2
         Case 5:21-cv-05590-JMG Document 4-1 Filed 12/30/21 Page 3 of 4




Agreement would result in the release of financial information which could be used by opponents

of the parties to unfairly paint the parties in a negative light.

        “Just as the right of access [to judicial records] is firmly entrenched, so also is the

correlative principle that the right of access, whether grounded on the common law or the First

Amendment, is not absolute.” Bank of Am. Nat. Tr. & Sav. Ass’n v. Hotel Rittenhouse Assocs.,

800 F.2d 339, 344 (3d Cir. 1986). Thus, a trial judge must weigh the public interest in access

against the rights of the parties seeking confidentiality. See id. The question of whether to seal a

court record lies within the discretion of the trial judge. See id.

        Defendants respectfully submit that the balance in this instance weighs heavily towards

sealing Defendants’ Motion to Dismiss Plaintiff’s Complaint. The sealing would avoid the

disclosure of sensitive information in the Confidential Agreement.          If Defendants file an

unredacted copy of their Motion to Dismiss Plaintiff’s Complaint as a public record, they will be

airing to the public the Confidentiality Agreement. Not only do Defendants attach the document

as an exhibit, they rely heavily upon the contents of the Confidentiality Agreement in the body of

their Motion. Accordingly, Defendants request that this Court permit them to file their Motion to

Dismiss Plaintiff’s Complaint under seal in order to respect the private nature of the Confidential

Agreement.

V.      CONCLUSION

        For all of the foregoing reasons, Defendants Frank Loftus, Loftus Adjustment Service Inc.

d/b/a ARC Claims Management, and Kelly Giblin respectfully move this Court for leave to file

their Motion to Dismiss Plaintiff’s Complaint under seal. In the alternative, Defendants seek leave

to file the Confidential Release as an exhibit under seal.




                                                    3
Case 5:21-cv-05590-JMG Document 4-1 Filed 12/30/21 Page 4 of 4




                      Respectfully submitted this 30th day of December, 2021,


                      KAUFMAN DOLOWICH & VOLUCK, LLP

                By:
                      Gregory S. Hyman, Esq.
                      Eileen Monaghan Ficaro, Esq.
                      1600 John F. Kennedy Blvd., Suite 1030
                      Philadelphia, PA 19103
                      (215) 501-7002
                      (215) 405-2973 (facsimile)
                      ghyman@kdvlaw.com
                      eficaro@kdvlaw.com
                      Counsel for Defendants,
                      Frank Loftus, Loftus Adjustment Service Inc. d/b/a
                      ARC Claims Management, and Kelly Giblin




                                4
